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Attomeys for Defendant Northland Insurance Company

UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO
TRANSCORP, INC.,
Case No.
Plaintiff,
vs. NOTICE OF REMOVAL OF CASE
TO FEDERAL COURT
NORTHLAND INSURANCE '
COMPANY,
Defendants.

 

 

TO: THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO;
PLAINTIFF TRANSCORP, INC., AND ITS ATTORNEYS OF RECORD HEREIN:

Defendant, Northland lnsurance Company, pursuant to 28 U.S.C. §§1441 and 1446(a),
respectfully files this Notice of Removal of this action from the District Court of the Fourth
Judicial District of the State of Idaho, in and for the County of Ada, in Which it is now pending,
to the United States District Court for the District of Idaho. In support of such removal,
Defendant Northland Insurance Company, by its undersigned attorneys, respectfully states and

alleges:

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1. Northland'lnsurance Company has been named as Defendant in the civil action
brought in the District Court of the Fourth Judicial District of the State of Idaho, in and for the
County of Ada; captioned Transcorp, Inc. v. Northland Insurance Company, (the “Action”).
True and correct copies of the Summons and Complaint and Demand for Jury Trial are attached
hereto as Exhibit A and incorporated herein by reference. Defendant Northland lnsurance
Company believes that no other process, pleadings, or orders have been served on Defendant
Northand Insurance Company; however, filed with the State Court is Defendant’s Notice of
Appearance, a copy of which is attached as Exhibit B.

2. Transcorp, Inc, v. Northland Insurance Company, is a civil action in which
Plaintiff seeks to recover against Defendant for breach of contract, failure to provide notice;
breach of the covenant of good faith and fair dealing; and the tort of bad faith.

3. Northland Insurance Company is informed and believes, based on the allegations
in the Complaint, that Plaintiff, Transcorp, Inc., is and at all relevant times has been a
corporation with its principal place of business located in Boise, Ada County, ldaho.

4. Defendant Northland Insurance Company is incorporated in Minnesota and
maintains its principal place of business in St. Paul, Ramsey County, Minnesota

5. The matter in controversy exceeds the sum or value of $75,000, exclusive of
interest and costs in that Plaintiff seeks to recover, among other things, damages for the loss of a
truck and trailer and for bad faith.

6. Pursuant to 28 U.S.C. §1332(a), the Federal District Courts have jurisdiction of
any civil action where the matter in controversy exceeds the sum or value of $75,000, exclusive
of interest an costs, and is between citizens of different states.

7. Defendant Northland Insurance Company first received a copy of the Summons

and Complaint through the State of Idaho, Department of lnsurance on or after September 24,
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2007. This Notice is timely filed as required by 28 U.S.C. § 1446(b), because it is filed within
30 days after Defendant’s receipt of a copy of the Summons and Complaint.

8. There are no other defendants in this matter and thus all defendants who may
properly join in this Notice of Removal have done so.

9. No hearing has been set by the state court regarding any matter in this action, and
Defendant Northland lnsurance Company has taken no action in the state court proceeding
except to file a Notice of Appearance‘.

10. Pursuant to 28 U.S.C. §1446, the state court action which was commenced in the
Fourth Judicial District of the State of Idaho, in and for the County of Ada, may be removed to
the United States District Court for the District of Idaho.

11. Proper notice will be given this date to Plaintiff herein, by and through its
attorney of record, and to the Clerk of the District Court of the Fouith Judicial District of the
State of Idaho, in and for the County of Ada; a true and correct copy of the Notice is attached
hereto as Exhibit C, and by this reference, incorporated herein as if set forth in hill

WHEREFORE: Defendant Northland lnsurance Company prays that the above entitled
action pending against it in the District Court of the Fourth Judicial District of the State of Idaho,
in and for the County of Ada, be removed to this Court.

DATED this §§ day of october, 2007.

EBERLE, BERLIN, KADING, TURNBOW,
& MCKLVEEN, CHARTERED

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Neil D. McFeeley, of the firm
Attorneys for Defendant Northland lnsurance
Company

 

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CERTIFICATE OF SERVICE

IHEREBY CERTIFY that a true and correct copy of the above and foregoing document

was served upon the following attorney this

addressed as follows:

Kim J. Trout

Trout, Jones, Gledhill, Fuhrman, P.A.

225 Nerth 9th street, suite 820
P.O. Box 1097

Boise, Idaho 83701

Facsimile: 208-331-1529

ay of October, 2007, as indicated below and

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[ ]Overnight Mail
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Neil D. McFeeley

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